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Attachment 1

                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO
               COURT CASE NUMBER: 05-1849 JH; NOTICE OF FORFEITURE

       Notice is hereby given that on April 11, 2011, in the case of U.S. v. Jarvis,, Court Case
Number 05-1849 JH, the United States District Court for the District of New Mexico entered an
Order condemning and forfeiting the following property to the United States of America:

       $25,056.74 seized from Compass Bank Account 87080587 in the name of Continental
       Steel West Corp. d/b/a Continental Steel or its successor(s) interest in Albuquerque, NM.
       (05-ICE-000277) seized on August 30, 2005 at Compass Bank, located in Albuquerque,
       NM

        The United States hereby gives notice of its intent to dispose of the forfeited property in
such manner as the United States Attorney General may direct. Any person, other than the
defendant(s) in this case, claiming interest in the forfeited property must file a Petition within 60
days of the first date of publication (August 02, 2011) of this Notice on this official government
internet web site, pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure and 21
U.S.C. § 853(n)(1). The petition must be filed with the Clerk of the Court, United States District
Court for the District of New Mexico, 333 Lomas Blvd. NW, Albuquerque, NM 87103, and a
copy served upon Assistant United States Attorney Stephen Kotz, P.O. Box 607, Albuquerque,
NM 87102. The petition shall be signed by the petitioner under penalty of perjury and shall set
forth the nature and extent of the petitioner's right, title or interest in the forfeited property, the
time and circumstances of the petitioner's acquisition of the right, title and interest in the
forfeited property and any additional facts supporting the petitioner's claim and the relief
sought, pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all petitions filed, or if no such petitions are filed,
following the expiration of the period specified above for the filing of such petitions, the United
States shall have clear title to the property and may warrant good title to any subsequent
purchaser or transferee.
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                                      Advertisement Certification Report



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U.S. v. Dana Jarvis, et.al.

Court Case No:                05-1849 JH
For Asset ID(s):              See Attached Advertisement Copy

   Consecutive            Date Advertisement          Total Hours Web Site               Verification that
   Calendar Day            Appeared on the            was Available during                Advertisement
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        16                     08/17/2011                      24.0                            Verified
        17                     08/18/2011                      24.0                            Verified
        18                     08/19/2011                      24.0                            Verified
        19                     08/20/2011                      24.0                            Verified
        20                     08/21/2011                      24.0                            Verified
        21                     08/22/2011                      23.9                            Verified
        22                     08/23/2011                      24.0                            Verified
        23                     08/24/2011                      24.0                            Verified
        24                     08/25/2011                      24.0                            Verified
        25                     08/26/2011                      24.0                            Verified
        26                     08/27/2011                      24.0                            Verified
        27                     08/28/2011                      24.0                            Verified
        28                     08/29/2011                      24.0                            Verified
        29                     08/30/2011                      24.0                            Verified
        30                     08/31/2011                      24.0                            Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
